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                     UNITED STATES DISTRICT CO RT FOR THE
                          EASTERN DISTRICT OF TEXAS

   CRAIG CUNNINGHAM,                            §
   Plaintiff,                                   §
                                                §
   V.                                           § Case ; . !'           ; '

                                                §
   Trusted Leads, LLC, Trusted Debt             §
   Solutions, LLC Schimeon Frederick,           §
   Tiffany Frederick, and John/Jane Does 1-     §
   5                                            §                :            -
   Defendants                                   §          n          V


                             PLAINTIFF S Original Complaint


   1. The Plaintiff hereby files this breach of contract action against Trusted Leads, LLC,
           Trusted Debt Solutions, LLC, Schimeon Frederick, and Tiffany Frederick.


   2. The Plaintiff is Craig Cunningham, a natural person who can be served at 3000 Custer

          Road, ste 270-206, Plano, Tx 75075.


   3. Trusted Leads, LLC is a Florida corporation that can be served via Chris Meier, Esq,

           Greenspoon Harder, LLP, 100 West Cypress Creek Road, ste 700, Fort

           Lauderdale, FL 33309.

   4. Trusted Debt Solutions, LLC is a Florida corporation that can be served via Chris

           Meier, Esq, Greenspoon Harder, LLP, 100 West Cypress Creek Road, ste 700,

           Fort Lauderdale, FL 33309.


   5. Schimeon Frederick is a natural person that can be served via Chris Meier, Esq,

           Greenspoon Harder, LLP, 100 West Cypress Creek Road, ste 700, Fort

           Lauderdale, FL 33309.

   6. Tiffany Frederick is a natural person that can be served via Chris Meier, Esq,

           Greenspoon Harder, LLP, 100 West Cypress Creek Road, ste 700, Fort

           Lauderdale, FL 33309.
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                        The Plaintiff sued the Defendants in a prior lawsuit

   7. The Plaintiff sued the defend nts originally as part of Cunningham v Greenstar
          Capital in the E.D of Texas, in case 4:18-cv-00161-ALM-CAN on 3/7/2018.


   8. The Defendants failed to respond to the complaint, but directly engaged Chris Meier
          an attorney with Greenspoon Marde to discuss settlement with the Plaintiff
          instead.


          The Parties entered into a valid contract to settle the Plaintiffs claims


   9. The Parties re ched a written settlement agr ement on May 15, 2018, which resulted

          in the dismissal of the defendants from the action. A copy of the agreement is

          attached as Exhibit A.

   10. In pararaph 8 of the agreement, the parties agree that the agreement is subject to

          jurisdiction and venue in the Eastern District of Texas.


               The Defendants materially breached the settlement agreement


   11. Pursuant to paragraph 1(a), payments were due on the 8th of each month starting on

          June 8th 2018. A payment was made to the Plaintiff, but the check was returned

          and failed to clear the Plaintiffs bank on June 18, 2018 as a result of insufficient
          funds. See Exhibit B. At this point, the defendants failed to make a timely
          monthly p yment as defined by the agreement and were materially in breach of
          the agreement.


   12. Despite this material breach, an extension was requested by the Defendants and

          granted by the Plaintiff through August 1, 2018 to deliver the funds to the
          Pl intiff. As of August 3rd, 2018 no funds were recieved by the Plaintiff once
          again breaching the agreement.


                     The Plaintiff performed a agreed under the contract


   13. The Plaintiffs only obligation in the case was to dismiss the defendants from the
          case. The Defendants were dismissed on June 1,2018.
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     The Plaintiff suffered damages and is entitled to liquidated damages according to
                                                the contract


    14. Pursuant to the agreement in paragraph 16, the Plaintiff is entitled to liquidated
           damages. The Plaintiff has also been damaged by being deprived of the settlement
           payments as agreed.


                                         Prayer for Relief


    15. The Plaintiff requets a judgment in the amount specified in paragraph 19 of the
           agreement as liquidated damages.


    16. Costs and attorney s fees pursuant to the agreement.


    17. Any further such relief as the corut deems fit.




   Craig CunningKapr, Plm           ro-se


   3000 CustqfKbad, ste 270-206 Plano, Tx 75075
    8/3/2018
   615-348-1977
